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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Sylvia James,

Plaimiff,

Hi]liard Hampton, et al_

Case NO. 2: 12“~"0\/-10273
Hon. Paul D. Borman

 

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/
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PLAINTIFF’S ANSWER 'I`O ])EFEN])ANTS PAUL FISCHER AN]) THE
JUDIClAL TENURE COMMISSION’S MOTION INLIMINE TO
EXCLUDE NEWSPAPER ARTICLES AND EDITORIALS

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Plaintiff, Sylvia James, by and through her attorneys, for her Ansvver to
Defendants Paul Fischer and the ]udicial Tenure Cornrnission’s Motion in Limine
to Exclude Newspaper Articles and Editorials (the “Motion”) states as folloWs:

The various media at issue in Defendants’ Motion are not hearsay because
they are not, and have never been, offered as evidence of the judges’ Wrongdoing,
but rather as evidence that the JTC vvas aware of the serious allegations of
misconduct As such, this evidence is admissible evidence under Fed. R. Evid. 401
and 402. Furtherrnore, the probative value of this admissible evidence in no Way is
outweighed by any purported prejudicial effect as suggested by Defendants, and
therefore it should not be excluded under Fed. R. Evid. 403.

This Ansvver is further accompanied by a brief in opposition

WHEREFORE, Plaintiff respectfully requests that this Court deny the

Motion.

Respectfully submitted,

/s/ Jason R. Hirsch Elliot S. Hall (Pl4546)

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248-864-4000 Dated: Novernber 5, 2018

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UNITED STATES DISTR_ICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
Sylvia Jarnes,

Plaintiff,
v Case No. 2:12"~cv"~10273
Hon. Paul D. Borrnan
Hilliard Hanipton, et al.

 

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PLAINTIFF’S BRIEF IN OPP()SITION TO DEFENDANTS PAUL
FISCHER AN]) THE JUDICIAL TENURE COMl\/IISSION’S MOTION IN
LIMINE TO EXCLUDE NEWSPAPER ARTICLES AND EI)ITORIALS

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STATEMENT OF ISSUES PRESENTEI)

I. Should Plaintiff be precluded from introducing media articles which report
upon allegations of wrongdoing of certain male and/or non~African
Arnerican judges where such evidence is relevant and not hearsay inasmuch
as its purpose is to support Plaintiff’ s allegations that the J'I`C was aware of
such serious aliegations of misconduct?

Plaintiff Answers: No.

Defendants Answer: Yes.

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STATEMENT OF CONTROLLING AUTHORITY

 

l. Fed. R. Evid. 401.

2. Fed. R. Evid. 402.

3. Fed. R. Evid. 403.

4. Fed. R. Evid. 802.

5 . Fed. R. Evid. 803.

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Fed. R. Evid. 802 .............................................................................................. iii, 8, 9
Fed. R. Evid. 803 ............................................................................................ iii, 8, 14
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BACKGROUND

Plaintiff filed her Complaint in this matter on January 20, 2012 against
Defendants, the l\/lichigan ]udicial Tenure Comrnission (the “JTC”), Paul Fischer
(“Fischer”), Deborah Green (“Green”) and Valdemar Washington (“Washington”)
(together, the “State Defendants”), and the City of Inl<ster, Hilliard Hampton and
Pamela Anderson (“Anderson”) (together, the “lnkster Defendants”). Docket No.
1. Therein, among other things, Plaintiff raised claims for (a) violations of the
Equal Protection Clause; and (b) the prohibition of warrantless searches under the
Fourth Amendment. Id.

With respect to her Equal Protection claim, Plaintiff alleges, among other
things, that Defendants, the ]TC and Fischer, the JTC’s executive director at all
relevant times (together, the “JTC Parties”), and Green, regional administrator with
the Michigan State Court Administrator’s Office, engaged in actions that violated
Plaintiffs rights under the Equal Protection Clause. Without limitation, Piaintiff
alleges that the ]TC Parties were not gender and race neutral in connection with
their treatment of female and African American judges, and Green was not race
neutral in connection with her decisions to file grievances with the ]TC.

Privileges Asserted by the JTC.
ln order for Plaintiff support her claim for violation of the Equal Protection

Clause, during discovery she sought information about ali requests for

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investigation submitted to the JTC, and investigative files of the .TTC (collectively,
the “JTC Files”), in order to ascertain necessary information about judges (race and
gender) against whom grievances had been filed but against whom the JTC
declined to file a formal complaint for the period of May 2001 through May 2011.
lnitialiy, the JTC refused to produce any of this inforrnation, asserting privilege
under Mich. Ct. R. 9.221, which required Plaintiff to file a motion to compel
production of the same. Docl<et No. 72. Plaintiff asserted that l\/lich Ct. R. 9.221
is an inapplicable state law privilege that has not been recognized by a federal
court in a federal question case. Plaintiff’s motion was referred to Magistrate
Judge Whalen, who agreed with Plaintiff and entered an order on December 29,
2015, granting Plaintift`s motion in part, and ruling that “l\/lich. Ct. R. 9.221 has no
analogue in federal common law, and is thus inapplicable in a federal
constitutional claim . . .” Doci<et No. 78 at Page iD 2058.

Despite Magistrate Judge Whalen’s order to resolve the dispute regarding
the production of the JTC Files, at a May 12, 2016 status conference regarding the
above-referenced issues, the parties agreed that the JTC would produce
anonymized versions of the JTF Files to Plaintiff, and would also produce
complete versions of the ]TC Files to Magistrate .`ludge Whalen for his in camera
review of the ITC Files in order to permit Magistrate Judge Whalen to determine

the race and gender of the judges associated With each JTC File (the “Agreement”).

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Docl<et No. 94.

From June 3, 2016 (the date JTC produced the first anonymized versions of
incomplete JTC Fiies) through August 2018, Plaintiff had to constantly address the
JTC’s ongoing failures to produce all of the required JTC Files. During this time
period, despite having withheld numerous categories of documents unbeknownst to
Plaintiff, the JTC never provided a privilege log as required by Fed. R. Civ. P.
26(b)(5)(A) until finally producing a generic privilege log in July 2018.

In October 2017, Plaintiff was left with no choice but to file another motion
to compel (Doci<et No. 112) inasmuch as the JTC had improperly withheld
numerous categories of documents in violation of the Agreement and without
providing a privilege log identifying such improperly withheld documents In
response to Plaintiff"s request for concurrence in Plaintiff’ s Motion to Compei the
Cornpiete JTC Fiies, counsel for the JTC, for the first time, asserted that “complete
files minus information that is privileged” had been produced ln response, both
the JTC and Fischer argued for the first time that the categories of documents
sought were protected by the attorney work product privilege Doci<et Nos. 120 &
121.

On Aprii 18, 2018, Magistrate Judge Whalen issued an Opinion and Order
(Docket No. 133) (the “April 2018 Order”) wherein he ordered the oTTC to produce

1 the Complete JTC files, but permitted the JTC to withhold the information the JTC

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contended was protected from disclosure based on the categories of privilege
outlined in the Aprii 2018 Order, which included the work product privilege,
deliberative process privilege and settlement privilege Docket No. 133. The April
2018 Order further ordered the JTC to provide a privilege log identifying the
portions of the JTC files which the JTC was withholding on the grounds of
privilege, as it is required to do under Fed. R. Civ. P. 26(b)(5)(A). Id. at Page ID
3566. The }TC did not object to the April 2018 Order, and therefore the April 18,
2018 Order is final in all respects Id.

Plaintiff’ s Comparator Judges.

The JTC (together with Green and Washington), and Fischer, filed their
respective dispositive motions on May 25, 2018. Docket Nos. 134 & 135. fn
response to the JTC and Fischer’s dispositive motions, Piaintiff presented evidence
that the JTC, Green and Fischer violated her Equal Protection rights by treating
Plaintiff differently than male and non~African American judges. Docket No. 142
at Page lD 5027-5031; Docket No. 143 at Page iD 5416-5419. Specifically,
Plaintiff provided numerous exampies where the JTC, Green and Fischer had
treated Plaintiff differently than similarly situated male and non-African American
judges (the “Comparator Judges”). Iai.

First, Plaintiff demonstrated that although Green investigated Plaintiff and

filed a grievance against her, Green did n_ot file any grievances against other male

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and non-African American judges who also had serious questions raised about
their conduct Docket No. 142 at Page ID 5027~5028. As support for this, Plaintiff
attached ,a media report showing that, just a few years prior to Green’s
investigation of Plaintiff, it was reported that a 28?h District Court .`ludge, J ames
Kandrevas, a Caucasian rnaie judge in Green’s region, had been sued by two of the
court’s former administrators who alleged that Judge Kandrevas fired them after
they objected to how he created bank accounts and used money, as well as
allegations that the court had made fraudulent representations to the state and
federal governments in connection with seeking money through drug court grants
when the court had ample funds. Exbibits 1-2. in the media articles, it was
reported that Judge Kandrevas asserted his Fifth Amendment right more than 200
times while refusing to answer questions about court operations and how he
handled money. Id. ln addition to the two civil lawsuits against Judge Kandrevas,
it was also reported that the U.S. Justice Department was investigating the
allegations Id.

Second, as another example, oniy a few years prior to Green’s investigation
of Plaintiff, it was reported that former Wayne County Judge Mary Waterstone, a
Caucasian female in Green’s region, had subomed perjury. Exhibit 3. Waterstone

was tried on four felony charges, including concealing perjured testimony Id.

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Green testified that she was aware of the fact that there were reports
regarding the misconduct of Judges Kandrevas and Waterstone, that both judges
were iocated in Green’s administrative region, and that Green did not file
grievances against either of these judges. Exh. 4 at 97 :16-98:7, 100:2-21
(Green). With respect to the two aforementioned judges, it was reported that the
JTC merely “scolded” iudge Waterstone,l and did not file a formai complaint
against her. Exh. 3. Furthermore, there is no evidence that the JTC investigated
ludge Kandrevas at a112, and it did not file a formal complaint against them.

Third, Plaintiff also demonstrated that there were other judges against whom
public allegations of serious misconduct were raised, but who were not pursued by
the JTC. For instance, Grand Traverse County Probate Court Judge David Stowe,
a white male, was reported to have a romantic relationship with a litigant (Curry)
in a divorce case over which he was presiding, and he continued oversight of the
custody case related to the divorce even after the two began a physical reiationship.
Exhibit 6. ]udge Stowe eventually hired Curry to work for him in the family

court. Id. Judge Stowe later married Curry, and later was found to be tampering

 

l Despite acknowledging that he knew about the press coverage regarding ]udge
Waterstone, during his deposition on the basis of privilege Fischer refused to
indicate whether the JTC investigated Judge Waterstone. Exh. 5 at 148:2-13,
152:8-14 (Fischer).

2 The .iTC’s counsel directed Fischer not to answer whether the JTC had
investigated fudge Kandrevas on the basis of privilege Exh. 5 at 141:20-145:21
(Fischer).

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with an investigation into a domestic dispute involving him and Curry. Ic:l. lt was
reported that the JTC only gave Judge Stowe “a wrist slap.” Id.

As a final example, Plaintiff showed that Lapeer Circuit Court Judge Byron
Konschuh, a white male, pled no contest to a misdemeanor count of faiiing to
account for county money after having been charged in 2014 with five felony
counts of embezzlement following an investigation by the Michigan State Police.
Exhibit 7. Prosecutors alleged that Judge Konschuh used funds his office received
and piaced them in his own personal bank account Id. Notwithstanding the fact
the JTC knew about the media reports regarding Judge Konschuh, the JTC never
filed any formal compiaint against him. Exhibit 8 at 35:13-17 (Rynier as
representative of the JTC); Exhibit 5 at 146:21-147:11 (Fischer).

Defendants Hearsay Argument is Without Merit.

ln reply to Plaintiff s response to the JTC and Fischer’s dispositive motions,
which responses referenced and attached the media articles at issue, Fischer and
the JTC argued that the media articles are inadmissible hearsay. Docket No. 145 at
5775, 5780.

On October 22, 2018, Defendants, Fischer and the .i'l`C, filed this l\/iotion3 to

exclude the media articles as part of a last ditch attempt to prevent Plaintiff from

 

3 This Motion also purports to seek to exclude “editorials,” but Plaintiff has not
sought to rely upon any “editorials.”

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supporting her claim that the JTC, Fischer and Green treated Plaintiff differently
than similarly situated male and/or non-African American judges

First, Defendants assertion that the media articles are inadmissible hearsay is
without merit inasmuch as the articles are not offered for the truth of the
Comparator Judges’ misconduct, but rather as to the JTC’s, Fischer’s and Green’s
knowledge that allegations of misconduct existed. Second, even if Plaintiff seeks
to offer the Comparator Judges’ misconduct for the truth of such Comparator
Judges’ misconduct, Plaintiff will do so without introducing hearsay evidence by
introducing public court documents that are exceptions to Fed. R. Evid. 802
hearsay under Fed. R. Evid. 803(8) as public records Last, Defendants’ assertion
that Plaintiff should be precluded from showing that the JTC, Fischer and Green
treated Plaintiff differently than similarly situated male and/or non-African
American judges for the reason that Defendants are purportedly “unable to
respond” because they decided to assert privileges is disingenuous and without
merit.

ARGUMENT

I. Standard of Review.
The Federal Rules of Evidence do not explicitly authorize in limine rulings,

but the practice was developed pursuant to a district court's inherent authority to

manage the course of trials Luce v. United States, 469 U.S. 38, 41; 105 S. Ct. 460

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(1984). lt is within the district court’s discretion to make an in limine ruling on
evidentiary matters, but there is no right to an in limine ruling. Huddlesron v.
United Stares, 485 U.S. 681, 688-689; 108 S. Ct. 1496 (1988).

“Evidence is relevant if: (a) it has any tendency to make a fact more or less
probable than it would be without the evidence; and (b) the fact is of consequence
in determining the action.” Fed. R. Evid. 401. Under Rule 401 of the Federal
Rules of Evidence, relevancy is not an inherent characteristic of any item of
evidence, but exists only as a relation between an item of evidence and a matter
properly provable in the case. Huddleston, 485 U.S. at 682.

“The court may exclude relevant evidence if its probative value is
substantially outweighed by a danger of one or more of the following: unfair
prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or
needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

“Out-of-court statements constitute hearsay only when offered in evidence to
prove the truth of the matter asserted.” Anderson v. Um'ted States, 417 U.S. 211,
219; 94 S. Ct. 2253 (1974).

i-learsay is not admissible unless provided otherwise by a federal statute, the
Federal Rules of Evidence or other rules proscribed by the Supreme Court. Fed. R.
Evid. 802. “Hearsay exceptions are provided in the evidentiary rules for certain

situations when it is believed that the out~of~court statement has sufficient indicia

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of reliability such that the protection provided by the hearsay rule is unnecessary.”

United States v. Scort, 69 Fed. Appx. 317, 320 (6th Cir. 2003).

II. The Media Articles are Not Hearsav.

This Court has held that “[n]ewspaper articles and television clips do not
constitute hearsay to the extent they are offered for purposes other than for the
truth of the matter asserted, such as to prove notice, damages, or that a controversy
existed.” Park W. Galleries, Inc. v. Global Fine Art Registry, LLC, 2010 U.S.
Dist. LEXIS 22872 at *8-9 (E.D. l\/lich. 2010) (Exhibit 9). Here, since the media
articles are not being offered for the truth of any matter asserted therein (i.e.,
whether the Comparator Judges actually committed the alleged misconduct), but
rather are offered only as evidence that the media articles noted that serious
allegations of misconduct existed, the media articles do not constitute hearsay at
all, and therefore are admissible if relevant to Plaintist claims, which they are.4

Plaintiff alleges that the JTC, Fischer and Green treated Plaintiff differently
than similarly situated male and/or non»~African American judges Among other
evidence, Plaintiff has come forward with evidence of similarly situated male
and/or non-African Arnerican judges who the JTC, Fischer and Green treated

differently than Piaintiff. Docket No. 142 at Page ID 5027-5031; Docket No. 143

 

4 Tellingly, Fischer and the JTC do not challenge the accuracy of the facts
conveyed by the media articles

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at Page 11) 5416-5419. Plaintiff’s evidence includes, but is not limited to, various
media articles which show that Defendants were or should have been aware of
serious allegations ofmisconduct. Id.

For example, the media articles put the JTC on notice that two of the
Comparator Judges had serious criminal felony charges brought against them,5
which indicates that a prosecuting attorney believed there was a reasonable
likelihood it could be proven beyond a reasonable doubt that the alleged crimes
occurred See, ABA Criminal J'ustice Standard 3-4.3.6 Such alleged conduct
should have warranted investigation by the JTC, and likely the filing of a formal
complaint; however, there is no evidence of either, despite the fact that the JTC’s
standard for imposing discipline is far lower than the criminal standard of beyond a
reasonable doubt.

The media articles regarding allegations of misconduct of the Comparator

Judges is relevant because it is undisputed that the JTC could investigate judges on

 

5 .iudge Waterstone was tried on four felony charges, including concealing perjured
testimony. Exhibit 3. .ludge Byron Konschuh, a white male, pled no contest to a
misdemeanor count of failing to account for county money after having been
charged in 2014 with five felony counts of embezzlement following an
investigation by the Michigan State Police. Exhibit 7.

6 ABA Criininal Justice Standard 3-4.3(a) provides that “[a] prosecutor should seek
or file criminal charges only if the prosecutor reasonably believes that the charges
are supported by probable cause, that admissible evidence will be sufficient to
support conviction beyond a reasonable doubt, and that the decision to charge is in
the interests ofjustice.”

ll

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its own initiative, without any grievance filed, after hearing of a story in the media.
Exh. 5 at 47:11-21, 48:7-21 (Fischer); Exh. 8 31:1-3 (Rynier); Mich. Ct. R.
9.207(A). Evidence adduced during discovery in this case even demonstrates that
the JTC was aware of the allegations of misconduct against some of the
Cornparator .Tudges. For example, Fischer testified that he may have seen
something in the newspaper regarding felony charges being filed against ludge
Konschuh. Exh. 5 at 147:10-11 (Fischer). Green was aware that there was a civil
case involving fudge Kandrevas that questioned the way he handled funds, yet no
formal complaint was ever filed against him, and he was never placed on
administrative leave. Exh. 4 at 71:10-13; 72:10-22 (Green). Green further
testified that she was aware of the allegations made against Judge Waterstone that
she had suborned perjury Id. at 73:7-24. Notwithstanding Green having been
aware of these allegations, she did not file any grievances with the JTC. Id. at
98:6-7.

rn Blair v. treaty Fizzers, rnc_, 505 rsa 517, 524 (ath ca 2007), the
plaintiff, Blair, sought to offer evidence that his termination was motivated by age
discrimination, specifically that defendant’s vice president said Blair was “too old”
for a client account Blair had been working on. Defendant argued that this
statement is inadmissible hearsay The Sixth Circuit found that Blair only offered

the statement for that fact that it was said, not to prove that Blair was actually too

12

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old to work on the account, and, accordingly this statement is not hearsay because
it is not being offered for the truth of the matter asserted. Id.

Like the statement the plaintiff in Blair sought to offer, Plaintiff offers the
articles to show the existence of the allegations of misconduct that the JTC was
aware of or should have been aware of. Here, it is undisputed7 that the media
articles are being offered to demonstrate that the JTC was aware, or at least should
have been aware, that there were serious allegations of misconduct made against
the Comparator Judges. Put more simply, the media articles are being offered to
simply show that they existed, not to prove the truth of any allegations made
therein. As such, the media articles are not hearsay at all, and, since they are
relevant to Plaintiff"s claims, are admissible

Notwithstanding the foregoing, some of the media articles contain facts
which can be introduced to the jury through other evidence, even if offered for the
truth of the matter asserted (e.g., the facts that some of the Comparator Judges
were criminally charged, and that substantial civil jury verdicts were rendered
against some of the Coinparator Judges), that is excepted from the hearsay rule.
For example, a court document showing that Judge Konschuh pled no contest to a
misdemeanor count of failing to account for county money after having been

charged with five felony counts of embezziement, would be admissible as a public

 

7 Defendants do not dispute that Plaintiff offers the media articles to show that the
JTC was aware of allegations of misconduct Docl<et No. 156 at 6048.

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record exception to the hearsay rule.8 Fed. R. Evid. 803(8); see also, Um`ted States
v. Black Bear, 542 F.3d 249, 256 (Sth Cir. 2008) (a state court document falls under
the exception to hearsay rule set forth in Fed. R. Evid. 803(8), and is also self-
authenticating evidence under Fed. R. Evid. 902(4)).

III. The Media Articles Are Not More Preiudicial Than Probative.

The thrust of Defendants’ Fed. R. Evid. 403 argument is that, if the media
articles are admitted, the danger of unfair prejudice purportedly outweighs their
probative value because Defendants cannot dispute the assertions in the articles
based on privileges Defendants themselves chose to assert during discovery. This
is hardly a justiHcation to preclude Plaintiff from introducing relevant evidence
Defendants’ argument is without merit because (l) Defendants were not legally
compelled to assert such privileges-rather, they did so by choice, and (2) it is well
settled law that the assertion of a privilege cannot be used as both a sword and a
shield.

A. The JTC and Fiscber Asserted Privileges by Choice.

During discovery, the ]TC asserted the following privileges in an effort to

stonewall Plaintiff`s discovery requests in connection with the judges the JTC

investigated: (l) state law privilege under l\/fich. Ct. R. 9.221, (2) the attorney-

 

8“[C]ourt documents are generally considered self-authenticating.” Evans v. Lucas

M@zm Hous. Amh_, 2016 U.s. Disr. LEXIS 177354, *12, 2016 WL 7407539 (N.D.
oh. 2016) (Exhibit 10).

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client privilege / attorney work product doctrine, and (3) deliberative process
privilege. As a threshold matter, it is important to note that the only privilege here
that requires a non-party in this case to waive it would have been the state law
privilege set forth in Mich. Ct. R. 9.221, which this Court already ruled is
inapplicable to this case. Docket No. 78 at Page ID 2058. The remaining
privileges asserted by the JTC and Fischer are exclusively held by the JTC and/or
Fischer, and therefore assertion of such privileges was entirely within their
authority.

“[A] client may waive the [attorney client] privilege.” fn re Lotr, 424 F.3d
446, 452 (6`¢'h Cir. 2005). Similarly, the protections afforded by the attorney work
product doctrine may also be waived by a client. fn re Lott, 139 Fed. Apr. 65 8,
660 (6th Cir. 2005). Here, since Fischer was the attorney and the JTC was the
client, they had the right to either assert or waive the attorney client privilege The
JTC or Fischer would not have had to obtain permission from a non-party to waive
these privileges Similarly, since the deliberative process privilege can also be
waived, the ITC, being the sole government entity holding the deliberative process
privilege, could have waived that as well, but chose not to do so. See, Bahena v.
City Of Chicago, 2018 U.S. Dist. LEXIS 97852, *9 (N.D. Ill. 2018) (Exhibit 11).

As such, any assertion or suggestion by Defendants that they were somehow

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required to assert these privileges is disingenuous, and their choice to do so cannot
Serve to restrict Plaintiff’ s right to offer relevant evidence

B. The JTC and Fischer Cannot Use the Voluntarily Asserted Privileges as
Both a Sword and a Shield.

After voluntarily asserting privileges which the JTC and Fischer held, as a
shield precluding discovery regarding the ]TC’s investigation of judges, the JTC
and Fischer now seek to use the voluntary assertion of such privileges as a sword
to attempt to prevent Plaintiff from offering relevant and admissible evidence on
the purported basis that Defendants cannot respond to such evidence Defendants
purported inability to respond is a result of a strategic litigation decision made by
Defendants.

The JTC’s and Fischer’s decisions to invoke the aforementioned privileges
prevented Plaintiff from obtaining any knowledge as to the nature, substance or
even existence9 of any purported investigations by the JTC of the Comparator
ludges (or any other judge). The JTC and Fischer made a deliberate decision to
invoke privileges to the greatest extent allowable by law and the rulings of this
Court. 'l_`he JTC and Fischer now must accept the consequences of their decision

Specifically, as stated in greater detail in Plaintiff s Motion fn Limine to EXclude

 

9 Because the identities of the aggrieved judges have not been revealed to Plaintiff,
Plaintiff does not even know if any JTC files exist at all as to the Comparator
Judges.

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Evidence of the JTC’s Alleged Investigation of Cornparator ludges Based Upon
the invocation of Privilege to Preclude Disclosure of Such information Pursuant to
Fed. R. Evid. 403 (Docket No. 155). 'I`hus, there is no unfairness that Defendants
now cannot assert or support that they conducted investigations of the Comparator
ludges because the JTC and Fischer themselves made the deliberate and conscious
decision to invoke privileges that precluded discovery on that tonic. Thus,
Defendants Fed. R. Evid. 403 argument is without merit because there is no M
prejudice in refusing to exclude the relevant and admissible media articles Plaintiff
will introduce into evidence

CONCLUSION

For all the foregoing reasons, Plaintiff respectfully requests that this Court

deny the instant Motion.

Respectfully submitted,

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CERTIFICATE OF SERVICE
1 hereby certify that on Novernber 5, 2018, l electronically filed the
foregoing paper with the Clerk of the Court using the ECF system which will send
notification of such filing to counsel in this matter registered with the ECF system.

Respectfully Submitted,

MORGANROTH & MORGANROTH, PLLC
By: /s/ Jason R. Hirsch

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